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                     IN THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                   ATLANTA DIVISION

ALFREDO SPAVENTO,                          : CIVIL ACTION
                                           :
             Petitioner,                   : NO. 1:05-CV-02755-RLV
                                           :
             v.                            :
                                           :
DEPARTMENT OF JUSTICE, et al.,             :
                                           :
             Respondent.                   :

RESPONDENT'S COMBINED MOTION TO DISMISS AND RESPONSE TO PETITION FOR
                        WRIT OF HABEAS CORPUS

     COMES NOW the Respondent, through counsel, and files its response

in opposition to Alfredo Spavento’s petition for writ of habeas

corpus.1 Respondent further moves the court to dismiss the petition for

failure to exhaust administrative remedies and for failure to state a

claim for which relief can be granted. The grounds for this combined

motion     and    response   are    more   fully   set   forth   in   the   attached

memorandum.




1
     Alfredo Spavento originally filed this case in the United States
District Court for District of Columbia District, case no. 04-CIV-
2003(JR), as a prisoner civil rights action. Spavento subsequently
moved to amend the complaint to add additional plaintiffs.         The
District of Columbia District Court ruled that Spavento's claim can be
advanced only through a petition for writ of habeas corpus, construed
his original complaint as a habeas corpus petition, and denied the
motion to amend. The court then ordered Spavento's habeas corpus case
transferred to the United States District Court for the Northern
District of Georgia because he was then housed at the United States
Penitentiary in Atlanta ("USP-Atlanta").      The proper respondent,
therefore, is the Warden at USP-Atlanta.
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                            Respectfully submitted,

                            DAVID E. NAHMIAS
                            UNITED STATES ATTORNEY

                            s/ R. DAVID POWELL
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

ALFREDO SPAVENTO,                        : CIVIL ACTION
                                         :
             Petitioner,                 : NO. 1:05-CV-02755-RLV
                                         :
             v.                          :
                                         :
DEPARTMENT OF JUSTICE, et al.,           :
                                         :
             Respondent.                 :

MEMORANDUM IN SUPPORT OF RESPONDENT'S COMBINED MOTION TO DISMISS AND
           RESPONSE TO PETITION FOR WRIT OF HABEAS CORPUS

     COMES NOW the Respondent, through counsel, and files its response

in opposition to Alfredo Spavento’s petition for writ of habeas

corpus.2 Respondent further moves the court to dismiss the petition for

failure to exhaust administrative remedies, Skinner v. Wiley, 355 F.3d

1293 (11th Cir. 2004), and for failure to state a claim for which

relief can be granted, Brown v. McFadden 416 F.3d 1271 (11th Cir.

2005.)




2
     Alfredo Spavento originally filed this case in the United States
District Court for District of Columbia District, case no. 04-CIV-
2003(JR), as a prisoner civil rights action. Spavento subsequently
moved to amend the complaint to add additional plaintiffs.         The
District of Columbia District Court ruled that Spavento's claim can be
advanced only through a petition for writ of habeas corpus, construed
his original complaint as a habeas corpus petition, and denied the
motion to amend. The court then ordered Spavento's habeas corpus case
transferred to the United States District Court for the Northern
District of Georgia because he was then housed at the United States
Penitentiary in Atlanta ("USP-Atlanta").      The proper respondent,
therefore, is the Warden at USP-Atlanta.
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                                     BACKGROUND

       Alfredo    Spavento,    the    petitioner,       is    an   inmate    presently

incarcerated at the United States Penitentiary in Otisville, New York

(“USP Otisville”), currently serving a term of imprisonment of 250

months for violation of 21 U.S.C. § 846, Conspiracy to Distribute

Heroin and Cocaine imposed on October 31, 1989, (Court Record3, Docket

Entry [1] ¶ 1);(Gov. Ex. 2). He has filed a petition for writ of

habeas corpus pursuant to 28 U.S.C. § 2241, alleging that the Bureau

of Prisons ("BOP") has improperly interpreted 18 U.S.C. § 3624 (b)(1)

in a way that miscalculates the good time credit he may earn toward

his sentence. The Petitioner alleges that under the BOP’s calculation

of his sentence he has the potential to earn 1125 days, (CR [1] ¶ 15),

of good conduct time rather than the 968 days of GCT projected by the

BOP's     calculations.     (Gov.    Ex.   4).    Petitioner       argues    that   the

difference is due to the BOP’s calculation based upon time served

rather than the sentence imposed, resulting in the Petitioner being

awarded 47 days of GCT rather than 54 days GCT per year. (CR [1] ¶

13).

                                     DISCUSSION

       Respondent opposes and seeks dismissal of Spavento’s habeas

corpus     petition    on     the    grounds     that    he    failed   to     exhaust

administrative remedies and his petition fails to state a claim for

which relief can be granted.


3
     Documents in the court's record will be identified by court
docket number using the format "CR[nn]."

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A.   FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES

     Federal   prisoners   have   long     been   required   to   exhaust   all

available administrative remedies before seeking habeas corpus relief.

Merki v. Sullivan, 853 F.2d 599 (8th Cir. 1988); Perez-Perez v.

Hanberry, 781 F.2d 1477 (11th Cir. 1986); Dufresne v. Baer, 744 F.2d

1543 (11th Cir. 1984); Hopper v. United States Parole Commission, 702

F.2d 842 (9th Cir. 1983); Page v. United States Parole Commission, 651

F.2d 1083 (5th Cir. 1981); Dorman v. Simpson, 893 F.Supp. 1073, 1083

(N.D.Ga. 1995).    The Eleventh Circuit has held that exhaustion of

administrative remedies provided by the BOP for resolution of inmate

complaints is a jurisdictional prerequisite to filing suit, United

States v. Lucas, 898 F.2d 1554 (11th Cir. 1990)(Requirement that

inmate seeking credit against sentence for time in custody must

exhaust administrative remedies is jurisdictional); accord United

States v. Herrera, 931 F.2d 761 (11th Cir. 1991), and has more

recently held that this exhaustion requirement applies to all habeas

corpus petitions brought by federal prisoners. Skinner v. Wiley, 355

F.3d 1293 (11th Cir. 2004); accord Keys v. U.S. Dept. Of Justice, 136

Fed. Appx. 313,314 (11th Cir. 2005). See Gov. Ex. 5.

     The Federal Bureau of Prisons makes available to all inmates a

three level Administrative Remedy Program through which an inmate may

seek formal review of any issue relating to his confinement, if

informal resolution procedures fail to achieve sufficient results. 28

C.F.R. §§ 542.10 - 542.19.     For matters other than Discipline Hearing


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Officer ("DHO") appeals,4 the administrative remedy process is begun

by filing a formal written Administrative Remedy Request on the

appropriate form (form BP-9) at the institution where the inmate is

incarcerated.   28 C.F.R. § 542.14.      Once the Warden has responded to

the inmate's request, the inmate, if not satisfied with the response,

may submit an appeal using the appropriate form (form BP-10), to the

Regional Director for the geographic region of the BOP within which

the inmate is incarcerated.      28 C.F.R. § 542.15(a), (b).          An inmate

who is dissatisfied with the Regional Director's response may submit

another appeal, using the appropriate form (form BP-11), to the BOP's

General Counsel.    28 C.F.R. § 542.15(a).       An appeal to the General

Counsel is the final stage in the administrative remedy process.             28

C.F.R. § 542.15(a).

     In   the   instant    case,    Spavento    has    failed    to     exhaust

administrative remedies regarding the claims raised in his Petition.

Spavento filed a BP-9 and BP-10 which were both denied.         Petitioner's

BP-11 filings were rejected due to his failure to submit copies of his

BP-9 and BP-10 and his exhibits. (Gov. Ex. 1 ¶ 7). He was afforded 10

days in which to submit the BP-11 with required attachments, but

failed to do so. Id.      The Eleventh Circuit has held that unless a

federal prisoner completes the administrative process by following the


4
     DHO appeals are initially submitted to the Regional Director. 28
C.F.R. §§ 541.19, 542.14(d)(2). The regulations also provide
abbreviated administrative procedures for two additional categories of
appeals not relevant here:     control unit appeals which are filed
initially with General Counsel, and controlled housing status appeals
which are filed initially with the Regional Director. 28 C.F.R. §
542.14(d)(3), (4).

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rules established by the BOP for that process, exhaustion has not

occurred.     Herrera, 931 F.2d at 764.         Spavento was afforded an

opportunity to amend and resubmit his BP-11, but failed to do so.

Therefore, petitioner failed to exhaust all available administrative

remedies for his claim and his petition should be dismissed.

B.   Petition Fails to State a Claim

     The petition also fails to state a claim for relief.          Petitioner

makes a general challenge concerning computation of GCT applicable to

his sentence.      His petition can be construed to challenge both

computation   of   GCT   for   time   already   served   (earned   GCT),   and

computation of projected GCT.

     1.     Earned GCT Is Correctly Calculated

     Petitioner’s argument that he is statutorily entitled to earn 54

days of GCT for every year of his sentence implies that he contends he

is eligible to earn all potential GCT immediately upon commencement of

his sentence. (CR [1] ¶ 13). However, the statutory authority for GCT

expressly provides that GCT may only be awarded at the end of each

year served. 18 U.S.C. § 3624(b)(1). Section 3624(b)(1) provides as

follows:

     (b)    Credit toward service of sentence for satisfactory
            behavior.---
     (1)    Subject to paragraph (2), a prisoner who is serving a term
            of imprisonment of more that one year other than a term of
            imprisonment for the duration of the prisoner’s life, may
            receive credit toward the service of the prisoner’s
            sentence, beyond the time served, of up to 54 days at the
            end of each year of the prisoner’s term of imprisonment,
            beginning at the end of the first year of the term, subject
            to determination by the Federal Bureau of Prisons that,
            during that year, the prisoner had displayed exemplary

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           compliance with institutional disciplinary regulations.
           Subject to paragraph (2), if the Bureau determines that,
           during that year, the prisoner has not satisfactorily
           complied with such institutional regulations, the prisoner
           shall receive no such credit toward service of the
           prisoner’s sentence or shall receive lesser credit as the
           Bureau determines to be appropriate.... Credit that has not
           been earned may not later be granted. Subject to paragraph
           (2), credit for the last year of portion of a year of the
           term of imprisonment shall be prorated and credited within
           the last six weeks of the sentence.


18 U.S.C. § 3624(b)(1) (emphasis added). 18 U.S.C. § 3624(b)(1)

expressly provides that GCT does not vest until the prisoner is

released from custody. 18 U.S.C. § 3624(b)(2). Thus, to the extent

that the petition is construed to assert a vested right to GCT upon

commencement of service of the in-custody portion of petitioner’s

sentence, his petition fails to state a claim for relief.

     The   petition   also   appears   to   challenge   the   amount   of   GCT

petitioner has earned for time he already has served, in light of

petitioner’s contention that he is actually only receiving 47 days per

year. (CR [1] ¶ 13). He can state a claim concerning his earned GCT

only by showing that he has improperly been denied 54 days of GCT for

each full year he has already served. 18 U.S.C. § 3624(b)(1). Although

he argues that the BOP’s method for awarding GCT limits him to only 47

days of GCT per year, he does not expressly allege that he has earned

less than 54 days in any of the years he has already served. BOP

records show, however, that for the year of January 26, 2002 through

January 25, 2003, he forfeited 14 days of GCT resulting in 40 days




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earned. (Gov. Ex. 4). Spavento does not challenge that forfeiture of

GCT.

       Petitioner has completed 16 years of the in-custody portion of

his sentence, and the BOP’s records correctly document that he has

earned 54 days of GCT per year served, less only 14 days he forfeited,

(16 x 54 = 864 minus 14 days forfeited = 850).           Petitioner, therefore,

fails to state a claim for which relief may be granted as to the BOP’s

calculation of the 850 GCT he has earned with a projected amount

earned of 968 GCT.

       2.   Projected Future GCT Is Correctly Calculated

       Petitioner   vigorously      challenges    the   BOP's     computation    that

projects the potential future GCT he may receive, in the discretion of

the BOP, pursuant to 18 U.S.C. § 3624(b)(1), and he expressly seeks a

court order requiring the BOP to immediately award him 1,125 days of

Good Credit Time. (CR [1] ¶ 15). Petitioner argues that the phrase

“term of imprisonment” is unambiguous and its use in § 3624(b)(1)

mandates that GCT be computed over his stated sentence rather than the

time actually served. The Eleventh Circuit has now addressed this

specific claim in Brown v. McFadden 416 F.3d 1271 (11th Cir. 2005.) As

in the present case, the petitioner in Brown claimed that the Bureau

of Prison’s (“BOP”) interpretation of 18 U.S.C. § 3624 (b)(1) is

contrary to plain language of the statute. Brown also made                 a claim

that he was also entitled to relief because the BOP’s interpretation

of the statute violates the rule of lenity. The circuit court in Brown

v   McFadden    held   that   the    statute     is   ambiguous    but   the    BOP’s


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interpretation is reasonable and therefore is due to be affirmed, and

that   the   rule   of   lenity   is   inapplicable   because   of   the   BOP’s

reasonable interpretation of 18 U.S.C. § 3624 (b)(1). Spavento's claim

challenging the BOP's interpretation of § 3624 (b)(1) therefore is

without merit.

                                   CONCLUSION

       For the reasons set forth above, the respondent respectfully

requests that the court enter an Order dismissing Petition for failure

to state a claim or for failure to exhaust administrative remedies.




                                   Respectfully submitted,

                                   DAVID E. NAHMIAS
                                   UNITED STATES ATTORNEY

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                    IN THE UNITED STATES DISTRICT COURT
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ALFREDO SPAVENTO,                     : CIVIL ACTION
                                      :
           Petitioner,                : NO. 1:05-CV-02755-RLV
                                      :
           v.                         :
                                      :
DEPARTMENT OF JUSTICE, et al.,        :
                                      :
           Respondent.                :

                          CERTIFICATE OF COMPLIANCE

     I   certify   that   the   documents   to   which   this   certificate   is

attached have been prepared with one of the font and point selections

approved by the Court in LR 5.1B for documents prepared by computer.



                                   s/ R. DAVID POWELL      ____
                                   R. DAVID POWELL
                                   ASSISTANT U.S. ATTORNEY
                                   Georgia Bar No. 586450
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ALFREDO SPAVENTO,                     : CIVIL ACTION
                                      :
             Petitioner,              : NO. 1:05-CV-02755-RLV
                                      :
             v.                       :
                                      :
DEPARTMENT OF JUSTICE, et al.,        :
                                      :
             Respondent.              :

                           CERTIFICATE OF SERVICE

I   hereby    certify   that   I   electronically    filed    the   foregoing

Respondent's Combined Motion to Dismiss and Response to Petition for

Writ of Habeas Corpus, and materials in support thereof, with the

Clerk of Court using the       CM/ECF system, and that I have mailed the

document by United States Postal Service to the following non CM-ECF

participant:

                        Alfredo Spavento
                        Reg No 15047-054
                        FCI Otisville
                        Federal Correctional Institute
                        P.O. Box 1000
                        Otisville, NY 10963

     This 18TH day of November, 2005.




                                   s/ R. DAVID POWELL
                                   R. DAVID POWELL
                                   ASSISTANT U.S. ATTORNEY
                                   Georgia Bar No. 586450
